
*365MEMORANDUM
BT THE COURT
This case is controlled by the decisions of this court in Walker Manufacturing Co. v. United States, 65 C. Cls. 394; Cole Storage Battery Co. v. United States, 65 C. Cls. 164; Advance Automobile Accessories Corp. v. United States, No. *366H-3, decided October 22, 1928 [66 C. Cls. 304]; Borg &amp; Beck Co. v. United States, No. H-437, decided March 11, 1929 [67 C. Cls. 242]; Edison Storage Battery Co. v. United States, No. F-359, decided May 6, 1929 [67 C. Cls. 543]. Plaintiff’s petition should be dismissed. It is so ordered.
